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                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        SAMSEL, RYAN STEPHEN                                              Reg #:      28332-509
Date of Birth:                                        Sex:      M   Race:WHITE        Facility:   PHL
Note Date:          07/25/2022 09:57                  Provider: Laughingwell, Raeph   Unit:       Z01


Cosign Note - Consultation encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Laughingwell, Raeph (MAT) MD
          Final consultation report from 6/28/2022 received and reviewed today. All recommendations already
          addressed. Imaging and referral appointments have been scheduled.



Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Laughingwell, Raeph (MAT) MD on 07/25/2022 09:58




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                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        SAMSEL, RYAN STEPHEN                                                      Reg #:      28332-509
Date of Birth:                                             Sex:      M   Race:WHITE           Facility:   PHL
Note Date:          07/21/2022 13:09                       Provider: Dalmasi, Odeida (MAT)    Unit:       Z01


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                           Provider: Dalmasi, Odeida (MAT) MD/CD
          Inmate refused x-ray.


Discontinued Radiology Request Orders:
    Details                                    Frequency         End Date               Due Date              Priority
    General Radiology-Chest-2 Views            One Time                                 06/30/2022            Routine
        Specific reason(s) for request (Complaints and findings):
               Bilateral Subclavian Venous Obstruction

Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Dalmasi, Odeida (MAT) MD/CD on 07/21/2022 13:10




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